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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
         v.                                  :       Case No. 22-MJ-00184-01
                                             :
BENJAMIN COLE                                :
                                             :
                        Defendant.           :

                                             ORDER
       Based upon the representations in the Motion to Continue and to Exclude Time Under the

Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

ORDERED that the currently scheduled status hearing on Tuesday, March 14, 2023, be

continued for good cause to Tuesday, March 28, 2023, at 1 p.m.; and it is further

       ORDERED that the time between Tuesday, March 14, 2023, and Tuesday, March 28,

2023, shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C.

§ 3161(h)(7)(A).

       The Court finds that the ends of justice served by the granting of such a continuance

outweighs the best interests of the public and the defendants in a speedy trial, and a continuance

will promote continuity of counsel, provide the defendants additional time to review the pre-

indictment discovery and to continue negotiating potential pretrial resolutions.
                                                            Zia M. Faruqui
                                                            2023.03.13 10:52:04
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                                      ___________________________________________
                                      THE HONORABLE ZIA M. FARUQUI
                                      UNITED STATES MAGISTRATE JUDGE
